IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF IOWA

 

 

EASTERN DIVISION
NOAH J. RUPP,
Case No.:

Plaintiff,

Vs.
COMPLAINT

ROSE ANN TRZIL, SCHOOL SISTERS OF and JURY DEMAND
SAINT FRANCIS, INC..and
METROPOLITAN PROPERTY AND
CASUALTY INSURANCE COMPANY,

Defendants.

 

 

COMES NOW, the Plaintiff for his claims against Defendants, states:
COUNT L THE PARTIES

L. Plaintiff Noah J. Rupp (hereinafter "Plaintiff"), is a citizen of the State of Iowa
residing in Dubuque County, Iowa.

2. Defendant Rose Trzil (hereinafter "Defendant Trzil ") is a citizen of Greenfield,
Milwaukee County, Wisconsin where she also resides.

3. Defendant School Sisters of Saint Francis, Inc. is a non-stock corporation
organized under the laws of the State of Wisconsin and is a citizen of the State of Wisconsin.

4. Metropolitan Property and Casualty Insurance Company (hereinafter
"Metropolitan") is a non-lowa insurance company doing business in Iowa. Metropolitan is a
citizen of the State of Rhode Island where it is domesticated and has its principal place of
business.

COUNT II: JURISDICTION AND VENUE

3. This is an action between citizeris of different states and the amount in

controversy exclusive of interest and court costs exceeds $75,000. This Court therefore has

subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a)(1).

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6. All Defendants have sufficient contacts with the State of Iowa for this court to
exercise personal jurisdiction over them.

7. Venue is proper in the United States District Court for the Northern District of
Iowa, Eastern Division, pursuant to 28 U.S.C. § 1391(b)(2) because the motor vehicle accident
that is the subject of this action occurred in this judicial district.

COUNT TH: FACTS

8. On September 17, 2016, Defendant Trzil was operating a 2015 Toyota Corolla
(VIN#5 YFBURHE9FP243810) in the City of Dubuque in Dubuque County, Iowa on. Fengler
Street heading westbound. |

9. Defendant School Sisters of Saint Francis was the owner of said 2015 Toyota
Corolla.

10. At the same time, Plaintiff was riding in the front passenger seat of a vehicle
headed northbound on Rhomberg Street in Dubuque, Iowa.

li. Defendant Rose Trzil failed to obey a stop sign or yield at the intersection of
Fengler Street and Rhomberg Avenue in Dubuque and the front of her vehicle crashed into the
front passenger door of the vehicle Plaintiff was riding in.

12. As a result of the accident, Plaintiff sustained serious bodily injuries including,
but not limited to a permanent brachial plexus injury that caused him to. be medically discharged
from the Marines, lose nearly all function of his right upper extremity, lose range of motion in
his neck, suffer severe headaches, and have permanent impairment and permanent work
restrictions.

COUNT IV: NEGLIGENCE
COMES NOW the Plaintiff, and for his negligence claim against Defendant Trzil and

School Sisters of Saint Francis, states:

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13. Plaintiff reasserts and re-alleges the allegations contained in paragraphs 1 through
12 of this Complaint by reference herein.
14. During the course of the operation of the Toyota Corolla on September 17, 2016,
Defendant Trzil was negligent in the operation of said vehicle.
15. The negligence of the Defendant Trzil was a cause of the injuries and damages
sustained by Plaintiff including:
a} Past and future pain and suffering;
b) Past and future emotional distress and mental suffering;
¢} Past and future loss of function of mind and body;
d) Past and future medical care, treatment, and services;

e) Lost wages;

f) Loss of earning capacity; and
2) Such other injuries and damages allowed by law.

16. Defendant Trail is liable to Plamtiff for the injuries and damages caused by her
negligence, which damages exceed $75,000 exclusive of interest and court costs.

17. Defendant School Sisters of Saint Francis as the owner of the vehicle Defendant
Trzil was operating is liable to Plaintiff for the injuries and damages suffered by Plaintiffasa .
result of Defendant Trzil’s negligence.

WHEREFORE, Plaintiff respectfully prays for judgment against Defendant Trzil and
Defendant School Sisters of Saint Francis, Inc. and demands that a money judgment be entered
against these Defendants, jointly and severally, to fully compensate him for the injuries and

damages stated herein which exceed $75,000 plus interest and costs, all as provided by law.

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COUNT V: BREACH OF CONTRACT — UIM

18.  Plamtff reasserts and re-alleges the allegations contained in paragraphs | through
17 of this Complaint by reference herein.

19. Plaintiif was insured by an auto insurance policy issued by Defendant
Metropolitan in Dubuque County, Iowa.

20. The policy number for said policy is 7003850372 and the claim number is
SIIS2700.

21. Said policy of insurance contained @ provision for underinsured motorist coverage
which provided, among other things, insurance coverage for losses and damages sustained in
accidents which were caused by the negligent operation of a vehicle by third persons when that
vehicle is underinsured at the time of the accident.

22. Defendant Trzil is an underinsured motorist within the definition of the
Metropolitan insurance policy.

23. Defendant Metropolitan is liable to Plaintiff for underinsured motorist benefits,
which amount exceeds $75,000 exclusive of interest and court costs.

WHEREFORE, the Plaintiff, Noah J. Rupp, respectfully prays for judgment against
Defendant Metropolitan for underinsured motorist benefits which amount exceeds $75,000
exclusive of interest and court costs, plus interest and costs, all as provided by law.

JURY DEMAND

The Plaintiff respectfully demands a trial by jury.

RESPECTFULLY SUBMITTED

 

 

CURRIE & LIABO LAW FIRM, P.L.C.

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